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 5
 6   ATTORNEY FOR Defendant,
     DESTANEY WALKER
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                ******

11   UNITED STATES OF AMERICA,                             Case No.: 1:20-CR-00062-NONE-SKO
12                  Plaintiff,
13          v.                                             STIPULATION AND ORDER TO
                                                           MODIFY CONDITIONS OF RELEASE
14
15   DESTANEY WALKER,
16                  Defendant.
17   TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
            ATTORNEY:
18
19          It is hereby stipulated between the United States of America, by and through its
20   representative, Kathleen Servatius and the Defendant, Destaney Walker, by and through her
21   attorney of record, Anthony P. Capozzi, that release condition 7(l), Home Detention, imposed
22   on Ms. Walker on March 5, 2020 (docket #28) be modified as follows:
23          (l)     [P]articipate in the following location monitoring program component and abide
24   by all the requirements of the program, which will include having a location monitoring unit
25   installed in your residence and a radio frequency transmitter device attached to your person.
26   You must comply with all instructions for the use and operation of said devices as given to you
27   by the Pretrial Services Agency and employees of the monitoring company. You must pay all
28   or part of the costs of the program based upon your ability to pay, as determined by the pretrial


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                                   STIPULATION TO MODIFY CONDITIONS OF RELEASE
                                       CASE NO.: 1:20-CR-00062-NONE-SKO
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 1   services officer. CURFEW: You must remain inside your residence every day from 8:00PM to
 2   8:00AM, or as adjusted by the pretrial services officer for medical, religious services,
 3   employment or court-ordered obligations.
 4          All other conditions shall remain in full force and effect.
 5          Defense counsel has spoken with pretrial services and the government and there is no
 6   objection to this modification.
 7
 8          IT IS SO STIPULATED.
 9                                              Respectfully submitted,
10   DATED:      July 20, 2020            By: /s/Kathleen A. Servatius
11                                            KATHLEEN A. SERVATIUS
                                              Assistant United States Attorney
12
13
14   DATED:      July 20, 2020            By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
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                                              Attorney for Defendant DESTANEY WALKER
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                                   STIPULATION TO MODIFY CONDITIONS OF RELEASE
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 1                                                  ORDER
 2
 3            IT IS HEREBY ORDERED, the court having received, read, and considered the
 4   parties’ stipulation, that release condition 7(l) imposed on Ms. Walker on March 5, 2020,
 5   (docket #28) is hereby modified to show that Ms. Walker must participate in the following
 6   location monitoring program component and abide by all the requirements of the program,
 7   which will include having a location monitoring unit installed in your residence and a radio
 8   frequency transmitter device attached to your person. You must comply with all instructions for
 9   the use and operation of said devices as given to you by the Pretrial Services Agency and
10   employees of the monitoring company. You must pay all or part of the costs of the program
11   based upon your ability to pay, as determined by the pretrial services officer. CURFEW: You
12   must remain inside your residence every day from 8:00PM to 8:00AM, or as adjusted by the
13   pretrial services officer for medical, religious services, employment or court-ordered
14   obligations.
15            All other conditions shall remain in effect.
16
17   IT IS SO ORDERED.
18
     Dated:     July 20, 2020                                          /s/   Sheila K. Oberto     .
19                                                         UNITED STATES MAGISTRATE JUDGE
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                                    STIPULATION TO MODIFY CONDITIONS OF RELEASE
                                        CASE NO.: 1:20-CR-00062-NONE-SKO
